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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                               CASE NO: 2:14-cr-135-FtM-38CM

LESLIE CHIN


                                        ORDER

      This matter comes before the Court on the Defendant Leslie Chin’s Motion to Allow

Stand in Counsel (Doc. #76) filed on May 9, 2015.        Counsel moves the Court for

permission to allow co-counsel to be allowed to stand in his place at the status

conference. The Court, having considered the motion, will grant the relief requested nunc

pro tunc, as co- counsel did stand in during the status conference held on May 11, 2015

      Accordingly, it is now

      ORDERED:

      Defendant Leslie Chin’s Motion to Allow Stand in Counsel (Doc. 76) is GRANTED

nunc pro tunc.

      DONE AND ORDERED at Fort Myers, Florida, this May 12, 2015.




Copies: Counsel of Record
